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8                                   UNITED STATES DISTRICT COURT
9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11
     LU HUANG and CHIH YU CHENG,                        )   Action No. C11-01984 TEH
12

13   Plaintiffs,                                        )

14   vs.                                                )
                                                            [PROPOSED] COURT ORDER FOR
15   COUNTY OF ALAMEDA, a governmental entity; )            DISMISSAL
     GREGORY J. AHERN, in his capacity as Sheriff
16
     of COUNTY OF ALAMEDA; TODD A. OWEN, )
17   as an individual; Officer DEISE, as an individual;
     Officer MINES, as an individual; Officer HEN-      )
18   DERSON, as an individual; and DOES 1 through
     25,                                                )
19
     Defendants.                                        )
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28                                    COURT ORDER FOR DISMISSAL
                                HUANG v. COUNTY OF ALAMEDA, et al., C11-01984
         Case 3:11-cv-01984-TEH                Document 50    Filed 09/05/12          Page 2 of 2



1    Pursuant to stipulation of the parties:
2
     IT IS HEREBY ORDERED THAT Plaintiffs' claims against all remaining defendants are hereby
3
     DISMISSED from this action, with prejudice.
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6    IT IS SO ORDERED.                                             TA




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                                                        UNIT
     Date:    09/04/2012                                ____________________________________
8                                                       Senior Judge Thelton E. Henderson




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28                                 COURT ORDER FOR DISMISSAL
                            HUANG v. COUNTY OF ALAMEDA, et al., C11-01984
